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INDIVIDUAL SETTLEMENT SHEET
(EXHIBIT A TO STIPULATION OF SETTLEMENT)

NAMES OF SETTLORS:

Bechtel National, Inc., and its insurer, American Home Assurance Company;

CH2M HILL Constructors, Inc. and its insurers, Zurich American Insurance Company,
Steadfast Insurance Company, Evanston Insurance Company, Federal Insurance Company,
Hanover Insurance Company, and CH2M HILL subcontractors Babcock Services, Inc. and
Airmart, Inc./Style Crest Products, Inc.:

Fluor Enterprises, Inc., and its insurers, American International Specialty Lines Insurance
Company, now known as Chartis Specialty Lines Insurance Company, Insurance Company of
the State of Pennsylvania, and Continental Casualty Company;

Shaw Environmental, Inc. and its insurer, Zurich American Insurance Company.

Settlor also includes, but is not limited to, those Settlors, Releasees, and Released Parties
as more fully defined in the Stipulation of Settlement.

SETTLORS’ COUNSEL:

JOHN J. HAINKEL, II
On behalf of Bechtel National, Inc.

GERARDO R. BARRIOS
On behalf of CH2M HILL Constructors, Inc.

CHARLES R. PENOT, JR.
On behalf of Fluor Enterprises, Inc.

M. DAVID KURTZ
On behalf of Shaw Environmental, Inc.

SETTLEMENT AMOUNT:

Five Million Dollars and no cents ($5,000,000.00)
1
Case 2:07-md-01873-KDE-MBN Document 25647-2 Filed 05/29/12 Page 2 of 18

OTHER APPLICABLE PROVISIONS:

Allocation of the total of Five million dollars of the fund from this group is

undifferentiated and confidential to the members of this group and their insurers.

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eae en Jus7M Z. yleaos Date *
Counsel for Plaintiffs

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L, Wi Date
On htel National, Inc.
GERARDO R. BARRIOS Date

On behalf of CH2M HILL Constructors, Inc.

CHARLES R. PENOT, JR. Date
On behalf of Fluor Enterprises, Inc.

M. DAVID KURTZ Date
On behalf of Shaw Environmental, Inc.

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Case 2:07-md-01873-KDE-MBN Document 25647-2 Filed 05/29/12 Page 3 of 18

INDIVIDUAL SETTLEMENT SHEET
(EXHIBIT A TO STIPULATION OF SETTLEMENT)

NAMES OF SETTLORS:

Bechtel National, Inc., and its insurer, American Home Assurance Company;

CH2M HILL Constructors, Inc. and its insurers, Zurich American Insurance Company,
Steadfast Insurance Company, Evanston Insurance Company, Federal Insurance Company,
Hanover Insurance Company, and CH2M HILL subcontractors Babcock Services, Inc. and
Airmart, Inc./Style Crest Products, Inc.;

Fluor Enterprises, Inc., and its insurers, American International Specialty Lines Insurance
Company, now known as Chartis Specialty Lines Insurance Company, Insurance Company of
the State of Pennsylvania, and Continental Casualty Company;

Shaw Environmental, Inc. and its insurer, Zurich American Insurance Company.

Settlor also includes, but is not limited to, those Settlors, Releasees, and Released Parties
as more fully defined in the Stipulation of Settlement.

SETTLORS’ COUNSEL:

JOHN J. HAINKEL, III
On behalf of Bechtel National, Inc.

GERARDO R. BARRIOS
On behalf of CH2M HILL Constructors, Inc.

CHARLES R. PENOT, JR.
On behalf of Fluor Enterprises, Inc.

M. DAVID KURTZ
On behalf of Shaw Environmental, Inc.

SETTLEMENT AMOUNT:

Five Million Dollars and no cents ($5,000,000.00)
1
Case 2:07-md-01873-KDE-MBN Document 25647-2 Filed 05/29/12 Page 4 of 18

OTHER APPLICABLE PROVISIONS:

Allocation of the total of Five million dollars of the fund from this group is

undifferentiated and confidential to the members of this group and their insurers.

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GERALDA-MEUMER SzZs 77 Z, Wools Date

Counsel for Plaintiffs

JOHN J. HAINKEL, II Date
OL ialf of Bechtel Qo Inc.

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aise R. Ly ie. Date
On behalf of CH2M HILL Constructors, Inc.

CHARLES R. PENOT, JR. Date
On behalf of Fluor Enterprises, Inc.

M. DAVID KURTZ Date
On behalf of Shaw Environmental, Inc.

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Case 2:07-md-01873-KDE-MBN Document 25647-2 Filed 05/29/12 Page 5 of 18

INDIVIDUAL SETTLEMENT SHEET

(EXHIBIT A TO STIPULATION OF SETTLEMENT)

NAMES OF SETTLORS:

Bechtel National, Inc., and its insurer, American Home Assurance Company;

CH2M HILL Constructors, Inc. and its insurers, Zurich American Insurance Company,
Steadfast Insurance Company, Evanston Insurance Company, Federal Insurance Company,
Hanover Insurance Company, and CH2M HILL subcontractors Babcock Services, Inc. and
Airmart, Inc./Style Crest Products, Inc.;

Fluor Enterprises, Inc., and its insurers, American International Specialty Lines Insurance
Company, now known as Chartis Specialty Lines Insurance Company, Insurance Company of
the State of Pennsylvania, and Continental Casualty Company;

Shaw Environmental, Inc. and its insurer, Zurich American Insurance Company.

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as more fully defined in the Stipulation of Settlement.

SETTLORS’ COUNSEL:

JOHN J. HAINKEL, III
On behalf of Bechtel National, Inc.

GERARDO R. BARRIOS
On behalf of CH2M HILL Constructors, Inc.

CHARLES R. PENOT, JR.
On behalf of Fluor Enterprises, Inc.

M. DAVID KURTZ
On behalf of Shaw Environmental, Inc.

SETTLEMENT AMOUNT:

Five Million Dollars and no cents ($5,000,000.00)

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Case 2:07-md-01873-KDE-MBN Document 25647-2 Filed 05/29/12 Page 6 of 18

OTHER APPLICABLE PROVISIONS:

Allocation of the total of Five million dollars of the fund from this group is

undifferentiated and confidential to the members of this group and their insurers.

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See annie TusTn LZ , WloRs Date
Counsel for Plaintiffs

JOHN J. HAINKEL, III Date
On behalf of Bechtel National, Inc.

GERARDO R. eee Date
tae L Constructors, Inc.

Hee oS, di p=
CHARLES R. PENO# Datef

On behalf of Fluor as Inc.

M. DAVID KURTZ Date
On behalf of Shaw Environmental, Inc.
Case 2:07-md-01873-KDE-MBN Document 25647-2 Filed 05/29/12 Page 7 of 18

INDIVIDUAL SETTLEMENT SHEET
(EXHIBIT A TO STIPULATION OF SETTLEMENT)

NAMES OF SETTLORS:

Bechtel National, Inc., and its insurer, American Home Assurance Company;

CH2M HILL Constructors, Inc. and its insurers, Zurich American Insurance Company,
Steadfast Insurance Company, Evanston Insurance Company, Federal Insurance Company,
Hanover Insurance Company; and CH2M HILL subcontractors Babcock Services, Inc. and
Airmart, Inc./Style Crest Products, Inc.;

Fluor Enterprises, Inc., and its insurers, American International Specialty Lines Insurance
Company, now known as Chartis Specialty Lines Insurance Company, Insurance Company of
the State of Pennsylvania, and Continental Casualty Company;

Shaw Environmental, Inc. and its insurer, Zurich American Insurance Company.

Settlor also includes, but is not limited to, those Settlors, Releasees, and Released Parties
as more fully defined in the Stipulation of Settlement.

SETTLORS’ COUNSEL:

JOHN J. HAINKEL, III
On behalf of Bechtel National, Inc.

GERARDO R. BARRIOS
On behalf of CH2M HILL Constructors, Inc.

CHARLES R. PENOT, JR.
On behalf of Fluor Enterprises, Inc.

M. DAVID KURTZ
On behalf of Shaw Environmental, Inc.

SETTLEMENT AMOUNT:

Five Million Dollars and no cents ($5,000,000.00)
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Case 2:07-md-01873-KDE-MBN Document 25647-2 Filed 05/29/12 Page 8 of 18

OTHER APPLICABLE PROVISIONS:

Allocation of the total of Five million dollars of the fund from this group is
undifferentiated and confidential to the members of this group and their insurers.

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Susi ZL, ploops Date  ”

Counsel for Plaintiffs

JOHN J. HAINKEL, III Date
On behalf of Bechtel National, Inc.

GERARDO R. BARRIOS Date
On behalf of CH2M HILL Constructors, Inc.

CHARLES R. PENOT, JR. Date
On behalf of Fluor Enterprises, Inc.

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M, DAVID KURTZ Dat

On behalf of Shaw E nmental, Inc.

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Case 2:07-md-01873-KDE-MBN Document 25647-2 Filed 05/29/12 Page 9 of 18

INDIVIDUAL SETTLEMENT SHEET

NAMES OF SETTLOR:

American Radiation Services, Inc.,
Settlor also includes, but is not limited to, those Settlors, Direct Insurers, Releasees, and
Released Parties as more fully defined in the Stipulation of Settlement.

SETTLOR’S COUNSEL:

JOHN J. HAINKEL, ITI
On behalf of American Radiation Services, Inc.

SETTLEMENT AMOUNT:

An amount known to the Plaintiffs’ Steering Committee and American Radiation

Services, Inc., the allocation of which is undifferentiated and confidential.

MA ROA SE reli

INKAL, III Date
Frilot e c c.
1100 Poydras Street, Suite 3700
New Orleans, Louisiana 70163
Telephone: (504) 599-8000
Facsimile: (504) 599-8100
On behalf of American Radiation Services, Inc.

Case 2:07-md-01873-KDE-MBN Document 25647-2 Filed 05/29/12 Page 10 of 18

INDIVIDUAL SETTLEMENT SHEET

(EXHIBIT A to Stipulation of Settlement )

NAMES OF SETTLORS: B & I Services, L.L.C., and its insurer Admiral Insurance Company

Settlor also includes, but is not limited to, those Settlors, Releasees, and Released Parties as more

fully defined in the Stipulation of Settlement,

SETTLEMENT AMOUNT: $5,500.00

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PI pee Counsel " Date

B & I Services, L.L.C.
Mn

SS SC /[ at c/( (.
Michael’ P, Mentz #09438 Date

John C. Duplantier #18191

Hailey, McNamara, Hall,

Larmann & Papale, LLP

One Galleria Blvd., Ste 1400

Metairie, LA 70001

(504) 836-6500

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INDIVIDUAL SETTLEMENT SHEET

(EXHIBIT A to Stipulation of Settlement)

NAMES OF SETTLORS:

Davis Professional Accounting Services, Inc., aka Davis Professional Services, Inc., and its
insurer, Penn-America Insurance Company
Multi-Task LLC and its insurer Penn-America Insurance Company

SETTLORS’ COUNSEL:

Richard G. Duplantier, Jr.

Peter Bourgeois

Stephanie Dovalina

GALLOWAY, JOHNSON, TOMPKINS, BURR & SMITH

701 Poydras Street, 40" Floor

New Orleans, Louisiana 70139

Telephone: (504) 525-6802

Fax: (504) 525-2456

Attorneys for Defendants, Davis Professional Accounting Services LLC & Multi-Task LLC

SETTLEMENT AMOUNT:

Ten Thousand Dollars and no cents ($10,000.00)

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Plaiftitis’ Counsel Daté

Gabo ode S25 7/2.

ard Duplantier, Jr. (#18874) Date
Peter A. Bourgeois (#27389)
Stephanie Dovalina (#31137)
Counsel for Davis Professional Accounting Services, Inc &
Multi-Task LLC
Case 2:07-md-01873-KDE-MBN Document 25647-2 Filed 05/29/12 Page 12 of 18

INDIVIDUAL SETTLEMENT SHEET

(EXHIBIT A to Stipulation of Settlement)

NAMES OF SETTLORS:

DC Recovery Systems
Catlin Specialty Insurance Company

Settlor also includes, but is not limited to, those Settlors, Releasees, and Released Parties as more

fully defined in the Stipulation of Settlement.

SETTLEMENT AMOUNT:

ELEVEN THOUSAND FIVE HUNDRED DOLLARS ($11,500.00)

OTHER APPLICABLE PROVISIONS:

Allocation of the total of $11,500.00 of the fund from this group is undifferentiated and

confidential to the members of this group and their insurers.

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Gitte Counsel Date

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heal ZYounsel (DC Recovery Systems Date

and Catlin Specialty Insurance Company )
Case 2:07-md-01873-KDE-MBN Document 25647-2 Filed 05/29/12 Page 13 of 18

INDIVIDUAL SETTLEMENT SHEET

NAMES OF SETTLORS: Jacquet Construction Services, Inc. And Scottsdale Insurance
Company, insurer of Jacquet Construction Services, Inc.

SETTLORS’ COUNSEL:
John A. Stewart, Jr.
Baldwin Haspel Burke & Mayer
1100 Poydras Street, Suite 3600
New Orleans, LA 70163
(504) 569-2900 Fax (504) 569-2099

SETTLEMENT AMOUNT: Twenty-thousand Dollars and no cents ($20,000.00)

OTHER APPLICABLE PROVISIONS:

Allocation of the total of twenty-thousand ($20,000.00) for the defendant is undifferentiated and
confidential to the Settlors for the class settlement and their insurers.

Settlors’ Counsel (Jacquet Construction fy He, a de

Services, Inc, and Scottsdale Insurance Company, Date /
insurer of 7389 truction Services, Inc.

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INDIVIDUAL SETTLEMENT SHEET

NAMES OF SETTLORS:

MLU Services, Inc.
Landmark American Insurance Company

Settlor also includes, but is not limited to, those Settlors, Releasees, and Released Parties
as more fully defined in the Stipulation of Settlement.

SETTLORS’ COUNSEL:

BARRY & CO, LLC

A Professional Law Corporation

STEPHEN R. BARRY (#21465)
KATHLEEN C, MARKSBURY (#1902)
612 Gravier Street

New Orleans, Louisiana 70130

Telephone: (504) 525-5553

Facsimile: (504) 525-1909

Attorneys for MLU Services, Inc. and
Landmark American Insurance Company

SETTLEMENT AMOUNT:

Twenty Two Thousand dollars and no cents ($22,000)
OTHER APPLICABLE PROVISIONS:

Allocation of the total of Twenty Two Thousand dollars of the fund from this group is
undifferentiated and confidential to the members of this group and their insurers.

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Plaintiffs’ Counsel Date

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ttlofs’ Counsel (MLU Services Inc. Date

and Landmark American Insurance
Company)

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Case 2:07-md-01873-KDE-MBN Document 25647-2 Filed 05/29/12 Page 15 of 18

INDIVIDUAL SETTLEMENT SHEET
(EXHIBIT A to Stipulation of Settlement)
NAMES OF SETTLORS:

PRI/DJI, A Reconstruction Joint Venture and its Principals, Project Resources, Inc., and
Del-Jen, Inc., and its insurers.

Del-Jen, Inc., and its insurer, The Hartford Fire Insurance Company

Settlor also includes, but is not limited to, those Settlors, Releasees, and Released Parties
as more fully defined in the Stipulation of Settlement.

SETTLORS’ COUNSEL:

KATHLEEN F. DREW

Counsel for PRI/DRI, a Reconstruction Joint Venture, and its Principals, Project
Resources, Inc., and Del-Jen, Inc.

RICHARD E. KING
DAVID M. MORAGAS
Counsel for Del-Jen, Inc.

SETTLEMENT AMOUNT:
Fourteen Thousand and no cents ($14,000.00)
OTHER APPLICABLE PROVISIONS:

Allocation of the total of Fourteen Thousand dollars of the fund from this group is
undifferentiated and confidential to the members of this group and their insurers.

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Plajhtiffs’ Counsel Date

Voile F h CCW O12.
SETTLORS’ COUNSEL (PRI/DRI, a

Reconstruction Joint Venture, and its Principals,
Project Resources, Inc. and Del-Jen, Inc.)
KATHLEEN F. DREW

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SETFTLORS’ COUNSEL (Del-Jen, Inc.) Dat

RICHARD E. KING
DAVID M. MORAGAS

Case 2:07-md-01873-KDE-MBN Document 25647-2 Filed 05/29/12 Page 16 of 18

INDIVIDUAL SETTLEMENT SHEET
(EXHIBIT A to Stipulation of Settlement)

NAMES OF SETTLORS:

Smith Research Corp. and its insurer, Maryland Casualty Company

SETTLORS’ COUNSEL:

Robert E. Kerrigan

Joshua G. Keller

Deutsch, Kerrigan & Stiles

755 Magazine Street

New Orleans, LA 70130

504-581-5141

SETTLEMENT AMOUNT:

Fifteen Thousand Five Hundred and no cents ($15,500.00)

OTHER APPLICABLE PROVISIONS:

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Plaintiff's Counsel Date
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Joshua eller Date

Settlor% Counsel (Smith Research Corp.)
Case 2:07-md-01873-KDE-MBN Document 25647-2 Filed 05/29/12 Page 17 of 18

INDIVIDUAL SETTLEMENT SHEET
(Exhibit A to Stipulation of Settlement)

NAMES OF SETTLORS:

T-Mazc, Inc. and its insurers Gemini Insurance Company and Scottsdale Insurance
Company

SETTLORS’ COUNSEL:

Sidney W. Degan, II and Jennifer S. Kilpatrick
On behalf of T-Mac, Inc.

SETTLEMENT AMOUNT:

$10,000.00

OTHER APPLICABLE PROVISIONS:

Allocation of the total $10,000 of the fund from this group is undifferentiated and
confidential to the member of the group and its insurers.

Ouwunbur kibpatutle
oe S. KILPATRICK. Date: Mary 45,2012
behalf of T-Mac, Inc.

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INDIVIDUAL SETTLEMENT SHEET
(Exhibit A to Stipulation of Settlement)

NAMES OF SETTLORS:

TKTMG, Inc. (occasionally referred to in the litigation as, “UFAS-TKTMJ”) and its
insurers Gemini Insurance Company; Markel Service, Incorporated as claims manager
for Essex Insurance Company; Louisiana Home Builders Association General Liability
Trust and Everest Indemnity Insurance Company.

SETTLORS’ COUNSEL:

Sidney W. Degan, ITI and Jennifer S. Kilpatrick
On behalf of TKTMY, Inc.

SETTLEMENT AMOUNT:
$15,000.00

OTHER APPLICABLE PROVISIONS:

Allocation of the total $15,000 of the fund from this group is undifferentiated and
confidential to the member of the group and its insurers.

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FERS. KILPATRIC Date: , 20!

behalf of TKTMJ, INC.

